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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


MARK WOLFKIEL, individually and on
behalf of all others similarly situated,
                                                        Case No. 1:13-cv-07133
                  Plaintiffs,
                                                        Honorable James B. Zagel
           v.

INTERSECTIONS INSURANCE SERVICES
INC., an Illinois corporation, and OCWEN
LOAN SERVICING, LLC, a Delaware
corporation,

                   Defendants.


                STIPULATION TO DISMISS THE FIRST AMENDED COMPLAINT

       Plaintiff Mark Wolfkiel (“Wolfkiel”) and Defendants Intersections Insurance Services

Inc. and Ocwen Loan Servicing, LLC (collectively, “Defendants”), hereby stipulate and agree,

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), that the above-captioned action, should be dismissed,

with prejudice, as to Wolfkiel’s individual claims and dismissed, without prejudice, as to the

claims of the putative class members. In support of the instant stipulation, the Parties state as

follows:

       WHEREAS, on September 3, 2013, Plaintiff (along with former plaintiff Kelli Majiros)

filed a Class Action Complaint in the Circuit Court of Cook County, Illinois, asserting claims

against Defendants for their alleged violations of the Telephone Consumer Protection Act, 47

U.S.C. § 227, (Dkt. 1-A);

       WHEREAS, on October 4, 2013, the action was removed from the Circuit Court of Cook

County to the United States District Court for the Northern District of Illinois (Dkt. 1);

       WHEREAS, on November 11, 2014, Wolfkiel (and former plaintiff Kelli Majiros) filed a

First Amended Complaint (Dkt. 18);


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       WHEREAS, on March 5, 2014, the Court dismissed former plaintiff Majiros’s claims in

Count II of the First Amended Complaint and the class she sought to represent, struck the class

allegations regarding the Revocation Class Wolfkiel sought to represent, and denied Defendants’

motion as to the remaining claims (Dkt. 38);

       WHEREAS, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the Parties may

stipulate to the dismissal of this matter without a Court order;

       NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED AS FOLLOWS:

       1.      Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

Wolfkiel’s individual claims in the above-captioned action are dismissed with prejudice and the

claims of the putative class members are dismissed without prejudice, with each party to bear its

own costs, expenses, and attorneys’ fees, except as otherwise agreed.

       IT IS SO STIPULATED.

                                               MARK WOLFKIEL, individually and on behalf
                                               of all others similarly situated,

Dated: December 11, 2014                       By:    /s/ Benjamin H. Richman
                                                      One of Plaintiff’s Attorneys

Jay Edelson
Rafey S. Balabanian
Benjamin H. Richman
Eve-Lynn Rapp
EDELSON PC
350 North LaSalle Street, Suite 1300
Chicago, IL 60654
Telephone: 312.589.6370
Facsimile: 312.589.6378
jedelson@edelson.com
rbalabanian@edelson.com
brichman@edelson.com
erapp@edelson.com




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Stefan Coleman, Esq.
LAW OFFICES OF STEFAN COLEMAN, LLC
1072 Madison Avenue, #1
Lakewood Township, NJ 08701
Telephone: 877.333.9427
law@stefancoleman.com

                                      OCWEN LOAN SERVICING, LLC,

Dated: December 11, 2014              By:   /s/ Richard E. Gottlieb
                                            One of Defendant’s Attorneys

Richard E. Gottlieb
BuckleySandler LLP
123 N. Wacker Drive, Suite 1450
Chicago, IL 60606
Telephone: (310) 424-3985
rgottlieb@buckleysandler.com

Kristopher R. Knabe
BuckleySandler LLP
123 N. Wacker Drive, Suite 1450
Chicago, IL 60606
Telephone: (312) 924-9825
kknabe@buckleysandler.com

                                      INTERSECTIONS INSURANCE SERVICES
                                      INC.,

Dated: December 11, 2014              By:   /s/ Randall A. Brater
                                            One of Defendant’s Attorneys

Anthony J. Monaco
Matthew T. Kinst
Swanson, Martin & Bell, LLP
330 North Wabash Ave, Suite 3300
Telephone: (312) 321-9100
amonaco@smbtrials.com
mkinst@smbtrials.com




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Randall A. Brater, Esq., pro hac vice
Arent Fox LLP
1717 K Street, NW
Washington, DC 20036-5342
(202) 715-8472
(202) 857-6395 – Fax
randall.brater@arentfox.com




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                                CERTIFICATE OF SERVICE

       I, Richard E. Gottlieb, an attorney, hereby certify that on December 11, 2014, I served the
above and foregoing Stipulation to Dismiss the First Amended Complaint, by causing true and
accurate copies of such paper to be filed and transmitted to all counsel of record via the Court’s
CM/ECF electronic filing system, on this the 11th day of December, 2014.


                                                    /s/     Richard E. Gottlieb




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